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              IN THE UNITED STATES DISTRICT COURT
                   FOR SOUTHERN DISTRICT OF IOWA
                          CENTRAL DIVISION
JOHN DOE,                         ) No. 19-CV-00047
                                  )
          Plaintiff,              ) PLAINTIFF’S REQUEST FOR
    vs.                           ) ORAL ARGUMENT ON
                                  ) MOTION TO DISMISS
UNIVERSITY OF IOWA; et al         )
                                  ) UNRESISTED
          Defendants.             )
COMES NOW, Plaintiff, through counsel, and hereby requests oral argument on

the pending Motion to Dismiss. In support, Plaintiff states:

      1.     There is a pending Motion to Dismiss by Defendants. Given the

factual and legal complexity of the case, Plaintiff requests oral argument.

      2.     Defendants do not resist.

      3.     A one hour hearing should be sufficient.

      4.     If motion is granted, the Parties can call in to this Court’s assistant to

arrange a mutually agreeable time.

For the above reasons, Plaintiff request oral argument.

                                         RESPECTFULLY SUBMITTED,

                                         /s/ Rockne Cole
                                         ___________________________
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                                     Iowa Pin AT1675
                                     ATTORNEY FOR PLAINTIFF
CERTIFICATE OF SERVICE
I, Rockne Cole, hereby certify that a copy of the
for the foregoing motion was served via EM-ECF
on January 29, 2020.
/s/ Rockne Cole

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